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                                                 18 Filed 11/29/21
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7
8                                                       UNITED STATES DISTRICT COURT
                                                             DISTRICT OF NEVADA
9
      Brenda Karatas,                                                   Case No.: 2:21-cv-01956-JAD-BNW
10
11                                      Plaintiff(s),                   Notice of settlement between Plaintiff and Aqua
                 v.                                                     Finance Inc.
12
13    Experian Information Solutions, Inc.; Portfolio
      Recovery Associates, LLC; Calvary Portfolio
14    Services, LLC; Trans Union LLC; Citizens
15    Community Federal, N.A.; Innovis Data
      Solutions, Inc.; and Aqua Finance, Inc.,
16
17                                      Defendant(s).
                The dispute between Brenda Karatas (“Plaintiff”) and Aqua Finance Inc. (“Defendant”) has been
18
     resolved. Plaintiff anticipates filing dismissal documents as to Plaintiff’s claims against Defendant within
19   60 days.
20
                Dated: ​November 24, 2021.
21
22          Order                                                Freedom Law Firm
23   IT IS ORDERED that a
                                                                  /s/ George Haines           .
     stipulation to dismiss Aqua
24                                                               George Haines, Esq.
     Finance Inc. is due by
                                                                 Gerardo Avalos, Esq.
     1/28/2022.
25       IT IS SO ORDERED
                                                                 8985 S. Eastern Ave., Suite 350
         DATED: 8:19 pm, November 29, 2021                       Las Vegas, Nevada 89123
26                                                               Attorney for Plaintiff Brenda Karatas
         BRENDA WEKSLER

27       UNITED STATES MAGISTRATE JUDGE




     _____________________
     Notice                                                         - ​1 -
